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 8                    UNITED STATES DISTRICT COURT 

 9                  SOUTHERN DISTRICT OF CALIFORNIA 

10
     UNITED STATES OF AMERICA,          ) Case No.: 15cr2821-BAS
11                                      )
                           Plaintiff, ) FINDINGS AND RECOMMENDATIO
12
                                      ) OF THE MAGISTRATE JUDGE
     v.
13                                    ) UPON A PLEA OF GUILTY
     Ruben Martinez,                    )
14
                                        )
15                                      )
                           Defendant.)
16

17
          Upon Defendant's request to enter a guilty plea to
18
     Count 1 of the Superseding Information pursuant to Rule
19
     11 of the Federal Rules of Criminal Procedure, this
20
     matter was referred to the Magistrate Judge by the
21
     District Judge, with the written consents of the
22
     Defendant, counsel for the Defendant, and counsel for
23
     the United States.
24
          Thereafter, the matter came on for a hearing on
25
     Defendant's guilty plea, in full compliance with Rule
26
     11, Federal Rules of Criminal Procedure, before the
27
     Magistrate Judge, in open court and on the record.
28

                                            1

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 1       In consideration of that hearing and the allocution
 2   made by the Defendant under oath on the record and in
 3   the presence of counsel, and the remarks of the
 4   Assistant United States Attorney,
 5       I make the following FINDINGS - that the Defendant
 6   understands:
 7
         1.    The government's right, in a prosecution for
 8
               perjury or false statement, to use against the
 9

10
               defendant any statement that the defendant

11             gives under oath;
12        2.   The right to persist In a plea of "not guilty";
13        3.   The right to a speedy and public trial;
14
          4.   The right to trial by jury, or the ability to
15
               waive that right and have a judge try the case
16

17
               without a jury;

18        5.   The right to be represented by counsel-and if
19             necessary to have the court appoint counsel-at
20
               trial and at every other stage of the
21
               proceeding;
22
          6.   The right at trial to confront and cross-
23

24             examine adverse witnesses, to be protected fro

25             compelled self-incrimination, to testify and
26             present evidence, and to compel the attendance
27             of witnesses;
28

                                         2

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1        7.	   The defendant's waiver of these trial rights if
2              the court accepts a guilty plea or nolo
3
               contendere;
 4
         8. 	 The nature of each charge to which the
 5
               defendant is pleading;
 6
 7        9. 	 Any maximum possible penalty, including

 8             imprisonment, fine, and term of supervised
 9             release;
10
          10. 	 Any applicable mandatory minimum penalty;
11
          11. 	 Any applicable forfeiture;
12

13
          12. 	 The court's authority to order restitution;

14        13. 	 The court's obligation to impose a special
15             assessment;
16        14. 	 In determining a sentence, the court's
17
               obligation to calculate the applicable
18
                sentencing guideline range and to consider that
19

20
                range, possible departures under the Sentencing

21             Guidelines, and other sentencing factors under
22              18 U.S.C    §   3553(a);
23
          15. 	 The term of any plea agreement and any
24
               provision in that agreement that waives the
25
                right to appeal or to collaterally attack the
26

27
               conviction and sentence; and

28

                                           3

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1        16. 	 That, if convicted, a defendant who is not a

 2             United States citizen may be removed from the
 3
               United States, denied citizenship, and denied
 4
               admission to the United States in the future.
 5
      further find that:
 6
 7       17. 	 The defendant is competent to enter a plea;
 8       18. 	 The defendant's guilty plea is made knowingly
 9
               and voluntarily, and did not result from force,
10
               threats or promises (other than those made in a
11
               plea agreement); and
12

13        19. 	 There is a factual basis for Defendant's plea.
14       I   therefore RECOMMEND that the District Judge
15   accept the Defendant's guilty plea to Count 1 of the
16
     Superseding Information.
17
         The sentencing hearing will be before United States
18

19
     District Judge Cynthia A. Bashant, on 7/18/2016 at

20   9:00am. The court excludes time from 4/21/2016 through
21   7/18/2016      pursuant to 18 USc § 3161 (h) (1) (G) on the
22
     ground that the District Judge will be considering the
23
     proposed plea agreement.
24
         Objections to these           ndings and Recommendations
25
26   are waived by the parties if not made within 14 days of

27   this order. If the parties waive the preparation of the
28

                                         4

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 1   Presentence Report, objections are due within three
 2   days of this order.
 3

 4
     Dated:   4/21/2016
 5

 6
                                     Bon.
                                     Uniteti States Magistrate Judge
 7

 8

 9
     Copies to:
10   Judge Cynthia A. Bashant
11
     Assistant United States Attorney
     Counsel for Defendant
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